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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


GODO KAISHA IP BRIDGE 1,              §
                                      §
      Plaintiff,                      §
                                      §
                                               Case No. 2:21-CV-213-JRG
      v.                              §
                                                      (Lead Case)
                                      §
TELEFONAKTIEBOLAGET LM                §
                                               JURY TRIAL DEMANDED
ERICSSON and ERICSSON INC.,           §
                                      §
      Defendants.                     §
                                      §
GODO KAISHA IP BRIDGE 1,              §
                                      §
      Plaintiff,                      §
                                      §
      v.                              §        Case No. 2:21-CV-215-JRG
                                      §             (Member Case)
NOKIA CORPORATION, NOKIA              §
SOLUTIONS AND NETWORKS OY, and        §        JURY TRIAL DEMANDED
NOKIA OF AMERICA CORPORATION,         §
                                      §
      Defendants.                     §
                                      §



      DEFENDANTS’ OBJECTIONS TO THE MAGISTRATE JUDGE’S CLAIM
              CONSTRUCTION MEMORANDUM AND ORDER
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                                TABLE OF ABBREVIATIONS



 Abbreviation             Definition

 Plaintiff or IP Bridge   Plaintiff Godo Kaisha IP Bridge 1

 Defendants               Defendants Nokia of America Corporation and Nokia Solutions and
                          Networks Oy and Defendants Telefonaktiebolaget LM Ericsson and
                          Ericsson Inc.
 ’909 patent              U.S. Patent No. 7,372,909

 ’594 patent              U.S. Patent No. 8,077,594

 ’724 patent              U.S. Patent No. 8,085,724

 ’239 patent              U.S. Patent No. 8,385,239


 ’000 patent              U.S. Patent No. 9,137,000


 POSITA                   Person of Ordinary Skill in the Art
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       Pursuant to Fed. R. Civ. P. 72(a), Defendants respectfully submit the following objections to

the Magistrate Judge’s Claim Construction Order (“Order”) (Dkt. 133). For each term below, the

Order erred for the reasons below and the reasons set forth in Defendants’ briefing (Dkt. 69) and at

the hearing (Dkt. 100, Dkt. 107) (all of which is incorporated by reference). Defendants therefore

respectfully object to the Order’s construction of each term below.

       A.      “an OFDM multicarrier signal comprising a first plurality of subcarriers and a
               second plurality of subcarriers” (’909 patent, Claims 1, 5)

       The Order incorrectly concluded that the applicant’s prosecution history remarks concerning

“a TDM system” are “too vague” to meet the “clear and unmistakable” standard for disclaimer. See

id.at 8. This conclusion is incorrect in light of the Order’s acknowledgement that the applicant

distinguished the invention over Haugli’s TDM system: “the applicant made two distinctions relative

to Haugli: (1) ‘Haugli does not disclose an up-conversion section,’ and (2) the new claims emphasize

the difference between the applicant’s OFDM radio transmitting apparatus and method and Haugli’s

‘TDM system.’” Id. at 8 (emphasis added). The Order thus expressly acknowledges that the applicant

distinguished Haugli’s TDM system to traverse the examiner’s rejections.

       The Order suggests that the “applicant did not argue the new claims were patentable because

they did not recite TDM, nor did he suggest that his OFDM system was incompatible with TDM.”

Id. at 8 (emphasis in original). But prosecution disclaimer “narrows the ordinary meaning of the

claim congruent with the scope of the surrender.” Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314,

1324 (Fed. Cir. 2003) (emphasis added). In other words, claim scope that would ordinarily fall within

the plain meaning of claim language can be disclaimed by “an applicant’s argument that a prior art

reference is distinguishable on a particular ground.” Traxcell Techs., LLC v. Nokia Sols. & Networks

Oy, 15 F.4th 1136, 1141 (Fed. Cir. 2021) (internal citations omitted). That is what occurred here.

Although TDM signals might ordinarily fall within the scope of the ’909 patent’s preamble, the

applicant disclaimed that scope by distinguishing the preamble from Haugli’s TDM signals. And the

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“examiner’s acceptance of that distinction and resulting decision to allow the claims suggest that [the

applicant] and the examiner reached an understanding on that point.” Genuine Enabling Tech. LLC

v. Nintendo Co., 29 F.4th 1365, 1374-75 (Fed. Cir. 2022). Thus, claim scope relating to TDM signals

was disclaimed by the applicant’s arguments regarding Haugli, and the Court should adopt

Defendant’s proposed construction.

       B.      “guard time during which nothing is transmitted” (’594 patent, Claims 1, 13)

       The Order rejected Defendants’ position that the disputed phrase is “definitional” (i.e., that it

explained the meaning of “guard time” in the claim). In doing so, the Order improperly disregarded

Federal Circuit precedent that “claim language defines claim scope.” Meds. Co. v. Hospira, Inc., 881

F.3d 1347, 1350 (Fed. Cir. 2018) (citation omitted). “[C]laims are interpreted with an eye toward

giving effect to all terms in the claim.” Bicon, Inc. v. Straumann Co., 441 F.3d 945, 950 (Fed. Cir.

2006) (citation omitted). Here, the Order itself acknowledges that the “guard time during which

nothing is transmitted” was added “for some reason” (Order at 12), so the claim language should be

ascribed meaning. Yet the Order incorrectly held that the “guard time during which nothing is

transmitted” phrase is not “definitional” because “[o]ne would expect definitional language to come

near the first use of the term being defined.” Order No. 11. This rationale is contrary to the plain

language of the claims. The claim expressly states that the SRS “is mapped to a position of a guard

time” and then later refers to “the guard time during which nothing is transmitted.” The latter phrase

unquestionably further defines the guard time that was introduced earlier in the claims, and thus the

claim requires that the same guard time (i) include an SRS and (ii) have nothing transmitted. The

Order’s holding that the express claim language (“guard time during which nothing is transmitted”)

is not “definitional” should be overturned.

       Once that holding is overturned, the Order’s rejection of Defendants’ specification- and claim

differentiation-based arguments should also be overturned. Both rejections were based on the Order’s


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incorrect adoption of IP Bridge’s arguments regarding the claim language. See Order at 12

(“[Defendants’] position . . . depends on accepting that the disputed phrase defines guard time . . .

.”); id. at 13 (“[C]laim differentiation is not inconsistent with Plaintiff’s construction. But even if it

were a closer call, “claim differentiation is ‘not a hard and fast rule . . . .”).

        C.      “subframe” (’594 patent, Claims 1, 2, 7, 9, 10, 13)

        The Order erred with respect to the term “subframe.” In its Brief, Defendants proffered legal

precedent demonstrating that “[e]quating two terms is sufficient to establish lexicography.” See Dkt.

75 at 9-10 (citing Edwards Lifesciences LLC v. Cook Inc., 582 F.3d 1322, 1329 (Fed. Cir. 2009);

Integrated Prod. Servs. v. Prod. Control Servs., 2013 U.S. Dist. LEXIS 200117, at *47 (S.D. Tex.

Apr. 17, 2013)). The Order did not distinguish or address any of that precedent or dispute that the

’594 patent specification equates a “subframe” with a 1 millisecond time period in a frame.

        D.      “a required cyclic shift amount according to a sequence number” (’724 patent,
                Claims 12, 18); “the required cyclic shift amount is a required cyclic shift
                amount for a mobile station moving at high speed” (’724 patent, Claim 13)

        The Order erred in declining to hold the “required cyclic shift amount” language indefinite.

The disputed phrase recites “a required cyclic shift amount according to a sequence number.” Here,

the claim states that the required cyclic shift amount is according to a sequence number, but (as the

Order acknowledges) the specification does not define “required cyclic shift amount” according to a

sequence number. See Order at 22 n. 6. The patent provides no guidance as to how the “required

cyclic shift amount” relates to a “sequence number,” so a POSITA would have had to subjectively

determine what constitutes a “required cyclic shift amount” for a sequence. See Dkt. 75 at 16-19;

Dkt. 75-2 at ¶¶ 75-80.

        The ’724 patent’s intrinsic record does not “provide objective boundaries for those of skill in

the art.” Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1371 (Fed. Cir. 2014). The Order relied

on Figure 24 as providing objective boundaries. See Order at 22. Neither party, however, contended


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that Figure 24 provided guidance as to how to interpret the required cyclic shift amount.1 Moreover,

Figure 24 illustrates the relationship between a sequence number (r) and a “maximum applicable

cyclic shift amount Δ value.” ’724 patent at Fig. 24. But the inequality defining the “applicable cyclic

shift amount Δ value” has an upper bound defined by the Doppler shift “x,” and not the “required

cyclic shift amount.” ’724 patent at 19:34-36. Figure 24 thus fails to relate sequences or sequence

numbers with “required cyclic shift amounts,” and thus does not provide an objective boundary.

       The Order also erred by interpreting “required cyclic shift according to a sequence number”

to not require the “required cyclic shift amount” to be “according to a sequence number.” Order at

22. The Order concludes that the phrase “according to a sequence number” limits how the sequences

are allocated. Id. This contradicts both parties’ positions: Plaintiff contended that “according to a

sequence number” limited how the sequences were indexed while Defendants contended that

“according to a sequence number” limited “required cyclic shift amount.” Dkt. 69 at 19; Dkt. 75 at

17-18. That the Order, Plaintiff, and Defendants read the same phrase as modifying three different

subjects (allocating, indexing, and required cyclic shift amount) further supports indefiniteness.

       E.      “the aperiodic channel quality indicator report is multiplexed with data trans-
               mitted by the mobile terminal” / “the aperiodic channel quality indicator re-
               port is not multiplexed with data transmitted by the mobile terminal” (’239
               patent, Claim 14)

       The Order correctly held that plain and ordinary meaning should apply, but incorrectly

excluded “control information or control signals” from that meaning. Order at 25. The parties’

dispute here was whether “data” should be limited to “user data” and thus exclude control data. The

term “data” does not have a special meaning in the art, and a POSITA would have understood the

term to have its plain and ordinary meaning, which includes control data and user data (Lanning Decl.



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  IP Bridge relied on Figure 24 to try to craft a definition for “generally,” which the Order properly
rejected. Dkt. 133 at 20.

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at ¶¶ 45-46). Although the Order frames its decision as applying the “plain and ordinary meaning,”

the Order effectively finds that applicant disclaimed types of data that include control information or

signaling. The Order erred because the ’239 patent does not include any express disavowal of claim

scope. Retractable Techs. Inc. v. Becton Dickinson & Co., 653 F.3d 1296, 1306 (Fed. Cir. 2011).

       As explained in Defendants’ Markman Brief, the specification discloses embodiments in

which “control” and “user” information are not distinguished. For example, the specification

describes that CQI reports could be multiplexed with Uplink Shared Channel data, where, for

example, CQI, PMI, RI, and other control data are sent on the channel (’239 patent at 5:35-37, 6:38-

7:40, 9:30-37; Lanning Decl. at ¶ 47). A POSITA would have understood the ’239 patent to disclose

that this and other information transmitted by the mobile terminal on the Uplink Shared Channel

would be considered “data transmitted by the mobile terminal via the UL-SCH” regardless of whether

it was explicitly called data or expressly said to be multiplexed (Lanning Decl. at ¶ 47; ’239 patent

at Cl. 14). The Order did not identify any evidence of a clear intention to limit the claim’s scope to

exclude control information from data and thus legally erred.

       The Order also factually erred by misconstruing the prosecution history. According to the

Order, the prosecution history “support[ed]” a “distinction between ‘data’ and ‘control information’

by equating ‘user data’ with ‘data to be transmitted via an Uplink Shared Channel (UL-SCH).’” Order

at 24. Not so. As explained in Defendants’ Markman Brief, the applicant replaced the “user data”

language in the original claims with the “data to be transmitted via an Uplink Shared Channel (UL-

SCH)” language in amended claims. Dkt. 75 at 26. Contrary to the Order, the applicant knew how to

claim “user data,” but didn’t. The Order erred by allowing IP Bridge to narrow the claims despite no

clear and unmistakable disavowal in the intrinsic record.




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Dated: June 28, 2022                  /s/ John D. Haynes
                                      John D. Haynes
                                      David S. Frist
                                      Shawn P. Gannon
                                      ALSTON & BIRD LLP
                                      One Atlantic Center
                                      1201 West Peachtree Street, Suite 4900
                                      Atlanta, GA 30309
                                      Telephone: (404) 881-7000
                                      Facsimile: (404) 881-7777
                                      john.haynes@alston.com
                                      david.frist@alston.com
                                      shawn.gannon@alston.com

                                      J. Ravindra Fernando
                                      ALSTON & BIRD LLP
                                      One South at The Plaza
                                      Suite 4000
                                      101 South Tryon Street
                                      Charlotte, NC 28280-4000
                                      Phone: 704-444-1000
                                      Fax: 704-444-1111
                                      Ravi.fernando@alston.com

                                      Counsel for Defendants Nokia of America
                                      Corporation; Nokia Solutions and Networks
                                      OY

                                      /s/ Warren Lipschitz
                                      Douglas A. Cawley
                                      Texas State Bar No. 04035500
                                      dcawley@McKoolSmith.com
                                      Nicholas Mathews
                                      Texas State Bar No. 24085457
                                      nmathews@McKoolSmith.com
                                      Warren Lipschitz
                                      Texas State Bar No. 24078867
                                      wlipschitz@mckoolsmith.com
                                      Eric Hansen
                                      Texas State Bar No. 24062763
                                      ehansen@mckoolsmith.com
                                      Alexander Chern
                                      Texas State Bar No. 24109718
                                      achern@mckoolsmith.com
                                      Eleanor Hudson Callaway
                                      Texas State Bar No. 24120740
                                      ecallaway@mckoolsmith.com
                                      6
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                                       MCKOOL SMITH, P.C.
                                       300 Crescent Court Suite 1500
                                       Dallas, TX 75201
                                       Telephone: (214) 978-4000
                                       Telecopier: (214) 978-4044

                                       ATTORNEYS FOR DEFENDANTS
                                       TELEFONAKTIEBOLAGET LM ERICSSON
                                       AND ERICSSON INC.




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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that the foregoing document was filed

electronically in compliance with Local Rule CV-5(a). Pursuant to Local Rule CV-5(c), all counsel

of record were served a true and correct copy of the foregoing document by electronic mail on June

28, 2022.

 Dated: June 28, 2022                           /s/ John D. Haynes
                                                John D. Haynes




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